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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )        No. 1:18-CR-10259-FDS-1
                                              )
TYRONE SMITH,                                 )
                                              )
               Defendant.                     )


                          JOINT FINAL STATUS MEMORANDUM

       Pursuant to Local Rule 116.5(c), the United States of America and the defendant, Tyrone

Smith, submit this joint status memorandum for the Final Status Conference scheduled for

February 19, 2019. Tyrone Smith is charged with one count of 21 U.S.C. § 841(a)(1),

distribution of cocaine base.

       1. Request for a Rule 11 hearing

       Counsel for the defendant needs more time to review discovery and respond to any

request they may have. The parties have discussed and reasonably foresee a resolution of this

matter by way of plea, and potential plea agreement. However, until such an agreement can be

reach, no Rule 11 hearing is requested at this time.

       2. Pretrial Conference

       No pretrial conference before the district court is requested at this time. No pretrial

motions are pending, and counsel for the defendant needs additional time to meet with the

defendant regarding any pretrial motions, and a potential plea agreement.

               A. Discovery and discovery requests

       The government has provided automatic discovery, and it is believed to be complete. If


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additional reports or information are anticipated or received, they will be provided as soon as

received.

                B. Timing of additional discovery requests

        The defendant continues to review the discovery, and no further requests have been made

at this time.

                C. Pretrial motions

        The defendant has not filed any pretrial motions under Fed. R. Crim. P. 12(b). If trial

becomes likely, the Court may wish to consider establishing a date by which such motions

should be filed.

                D. Periods of excludable delay

        Pursuant to the Court’s prior orders (docket entries #17, 26, 36, & 47), zero days have

counted for speedy trial purposes. Accordingly, zero days of non-excludable time have accrued

and 70 days will remain under the Act in which the case must be tried.

        The parties request that any period of time from the final status hearing on February 19,

2019, to the further final status hearing be excluded in the interests of justice.

                E. Estimated length of trial

        The estimated length of the trial is one week.

        3. Other matters

        The parties believe a further final status conference could be scheduled in 60 days, by

which time the parties may have a better sense of direction in this case.




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                                               Respectfully submitted,

                                               ANDREW E. LELLING
                                               UNITED STATES ATTORNEY


                                       By:     /s/ Philip A. Mallard
                                               Philip A. Mallard
                                               Assistant U.S. Attorney


                                 CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that this document filed through the ECF system will be

sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF).



                                       By:     /s/ Philip A. Mallard
                                               Philip A. Mallard
                                               Assistant U.S. Attorney




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